Case 1:19-cv-03375-SAG Document 94 Filed 04/18/24 Page 1 of 3

STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES, ex rel. KRAH PLUNKERT,

Plaintiffs,

Vv.

MARYLAND BROADBAND COOPERATIVE, et
al,

Defendants.

Civ. No. SAG-19-3375

JOINT MOTION TO DEFER DISMISSAL WITH PREJUDICE

The parties through counsel jointly move to defer the dismissal with

prejudice of this proceeding for fifteen (15) days on these grounds:

1. This matter was conditionally dismissed without prejudice March 20,

2024. That dismissal would become a dismissal with prejudice April 19,

2024, if not deferred for cause.

2. Since then, the parties have been working diligently and in good faith to

develop appropriate documentation of their agreement but require

additional time to complete that process.

3. Deferring dismissal with prejudice fifteen days, until May 4, 2024, will

accommodate the parties, prejudice no one, and cause no undue delay.
Case 1:19-cv-03375-SAG Document 94 Filed 04/18/24 Page 2 of 3

WHEREFORE, it is respectfully requested this Honorable Court defer dismissal

with prejudice of this proceeding until May 4, 2024.

Du P. Hollow of

Jay @ Holldnd (Fed. Bar #06015) (2 <¢
jholland@jgllaw.com

Erika Jacobsen White (Fed. Bar # 21815)
ewhite@jgllaw.com

JOSEPH, GREENWALD & LAAKE, P.A.
6404 Ivy Lane, Suite 400

Greenbelt, MD 20770

Tel: (301) 220-2200

Fax: (301) 220-1214

Robin R. Cockey (Fed. Bar # 02657)
rrcesq@cbmlawfirm.com
Ashley A. Bosché (Fed. Bar # 28800)
bosche@cbmlawfirm.com
COCKEY, BRENNAN & MALONEY, P.C.
313 Lemmon Hill Lane
Salisbury, MD 21801
Tel: (410) 546-1750
Fax: (410) 546-1811
Attorneys for Plaintiff/Relator Krah Plunkert

Case 1:19-cv-03375-SAG Document 94 Filed 04/18/24 Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES, ex rel. KRAH PLUNKERT,
Plaintiffs,
v.

MARYLAND BROADBAND COOPERATIVE, et
al., Civ. No. SAG-19-3375

Defendants.

ORDER

It is ORDERED, this day of April, 2024, by the United States
District Court for the District of Maryland, that the parties’ joint Motion to Defer
Dismissal with prejudice is GRANTED, and dismissal with prejudice is

accordingly deferred until May 4, 2024.

Honorable Stephanie A. Gallagher
United States District Judge
